     Case 4:16-cr-00113-P Document 205 Filed 11/03/21                 Page 1 of 1 PageID 697
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS                            WI\/ - .'l 2021
                                 FORT WORTH DIVISION                          Cii!';


UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §    CRIMINAL NO. 4:16-CR-113-O
                                                  §
LAUREN WHITNEY MOORE                              §

                                               ORDER

         In connection with the above captioned and styled cause in which the United States seeks to

have the conditions of supervised release of the defendant Lauren Whitney Moore revoked for

allegedly having violated one or more of those conditions, the defendant was taken into custody and

initially appeared before the undersigned. The court conducted an initial appearance hearing and

found that the defendant was eligible for appointment of counsel, and appointed counsel.

         Based upon the evidence presented, the comi finds that probable cause exists to show that

the defendant has violated several conditions of supervised release and the defendant failed to show

that the defendant is not a risk of flight or nonappearance, nor a danger to any other person or to the

community and therefore, the defendant should be held for a revocation hearing and detained

pending that hearing.

         Accordingly, defendant Lauren Whitney Moore is ordered detained pending a revocation

hearing on Friday, December 3, 2021 at 9:00 a.m. before the Honorable Reed O'Connor, United

States District Judge, in the 2nd Floor Courtroom, Eldon B. Mahon U.S. Courthouse, Fort Worth,

Texas.

         Signed: November 3, 2021



                                               HAL R. RAY, JR.
                                               UNITED STATES MAGISTRA 'E JUDGE
